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                                             July 15, 2020

The Honorable Leonard P. Stark                                                VIA ELECTRONIC MAIL
United States District Court
  for the District of Delaware
844 North King Street
Wilmington, DE 19801

          Re:     Natera, Inc. v. ArcherDX, Inc., C.A. No. 20-125 (LPS)

Dear Judge Burke:

        Plaintiff Natera, Inc. writes to request that Court enter an Order to start the process leading to
the entry of a Scheduling Order as early as possible in this matter. Natera filed this action on
January 27, 2020 and an amended complaint on April 15. Natera and Defendant ArcherDX are
competitors. Although ArcherDx has filed a motion for judgment on the pleadings, which will be
fully briefed at the end of this month, that motion is not directed at all of the asserted patents or all
the accused products. This competitor case will continue regardless of its resolution. Natera asked
ArcherDx whether it would join this request, but ArcherDx declined.

                                                Respectfully,

                                                /s/ Derek J. Fahnestock

                                                Derek J. Fahnestock (#4705)

DJF/lo

cc:       All Counsel of Record (via CM/ECF and e-mail)
